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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES


Date: April 20, 2016                 Time: 3 hours 45 minutes Judge: WILLIAM ALSUP
Case No.: 10-cv-03561-WHA            Case Name: Oracle America, Inc. v. Google Inc.
Deputy Clerk: Angella Meuleman       Court Reporter: Pamela Batalo



Attorneys for Plaintiff: Annette L. Hurst, Alyssa Caridis, Peter A. Bicks, Lisa T. Simpson, Gabriel
Ramsey, Andrew Kim, Robert Keele, Ayanna Lewis-Gruss

Also Present: Matthew Sarboraria; Debra Miller; Ruchika Agrawal

Attorneys for Defendant: Robert A. Van Nest, Christa Marine Anderson, Eugene Paige, Steven P.
Ragland, Elizabeth Egan, Maya Karwande

Also Present: Renny Hwang; Dr. Kearl

Attorney for Dr. Kearl: John Cooper

                                            PROCEEDINGS

[1557] Google's Motion in Limine #1 to Exclude Cer tain Testimony fr om Expert R epor t of Dr. C hris F.
       Kemerer - H ELD .
[1554] Oracle's Motion in Limine #4 Regar ding Google's Da mages Expert - HELD.
[1565] Google's Motion in Limine #6 to Exclude Portions of Exper t Report and T estimony of Ja mes
       Malack owski - H ELD .
[1582] Oracle's Motion in Limine #6 Re Rule 706 Expert - HELD.
[1584] Google's Motion to Strik e Portions of Dr. Kearl's Repor t and T estimony - HELD.
[1619] Oracle's Motion in Limine #7 Re Reply Report of Google's Da mages Expert Dr. Gr egory
       Leonar d. - H ELD.

                                        RESULT OF HEARING

   1. Google's Motion in Limine #1 to Exclude Certain Testimony from Expert Report of Dr. Chris F.
      Kemerer - taken under submission.
   2. Oracle's Motion in Limine #4 Regarding Google's Damages Expert - taken under submission.
   3. Google's Motion in Limine #6 to Exclude Portions of Expert Report and Testimony of James
      Malackowski - taken under submission.
   4. Oracle's Motion in Limine #6 Re Rule 706 Expert - taken under submission.
   5. Google's Motion to Strike Portions of Dr. Kearl's Report and Testimony - taken under submission.
   6. Oracle's Motion in Limine #7 Re Reply Report of Google's Damages Expert Dr. Gregory Leonard
      - taken under submission.
   7. The Court orders a full day of testimony be arranged with expert Rohit Chatterjee.
